              Case 2:11-cr-00323-JAM Document 184 Filed 04/14/15 Page 1 of 2


 1 Dina L. Santos, SBN 204200
   A Professional Law Corporation
 2 428 J Street, Suite 359
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Facsimile: (916) 447-2988
 4

 5 Attorneys for:
   WILLIAM BOHAC
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 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 11-CRS-0323-JAM

11                                   Plaintiff,         STIPULATION AND ORDER RESETTING J&S
                                                        TO 4/28/15
12                           v.

13   WILLIAM BOHAC,
                                     Defendant.
14

15
                                                  STIPULATION
16
            1.      It is hereby stipulated by and between Assistant United States Attorney JARED DOLAN,
17
     and Attorney Dina L. Santos, Counsel for Defendant WILLIAM BOHAC, that the current date
18
     scheduled for April 14, 2015, be vacated and the matter be continued to this Court’s criminal calendar
19
     on April 28, 2015, at 9:15 a.m. for judgment and sentencing.
20
     Dated: April 13, 2015                                  BENJAMIN B. WAGNER
21                                                          United States Attorney

22
                                                            /s/ Jared Dolan
23                                                          JARED DOLAN
                                                            Assistant United States Attorney
24

25 Dated: April 13, 2015                                    /s/ Dina L. Santos
                                                            DINA SANTOS, ESQ.
26                                                          Attorney for William Bohac

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      Stip. & [Proposed] Order Continuing J&S           1
             Case 2:11-cr-00323-JAM Document 184 Filed 04/14/15 Page 2 of 2


 1

 2                                             ORDER

 3         IT IS SO FOUND AND ORDERED this 13th day of April, 2015

 4                                                   /s/ John A. Mendez

 5
                                                     HON. JOHN A. MENDEZ
 6                                                   UNITED STATES DISTRICT COURT JUDGE

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     Stip. & [Proposed] Order Continuing J&S     2
